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             National Park Service


             LAW
             ENFORCEMENT
             PROGRAM

             REFERENCE MANUAL· 9

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             -=-=-���-�VL---
             A
                          - /_'                               March 2015

             Cameron H. Sholly

              ssociate Director, Visitor and Resource Protection
             A


             2015
             Law Enforcement, Security, and
             Emergency Services




                                                                      Exhibit A
                        CONFIDENTIAL                  Beck_20cv1280: USA_001482
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                                                                                Law Enforcement Program – Ch. 1
                                    1




                  Law Enforcement Program




1.    BACKGROUND AND OBJECTIVES
2.    DEFINITIONS
3.    POLICY
4.    LAW ENFORCEMENT NEEDS ASSESSMENT
5.    ROLE AND FUNCTIONS
6.    SUPERVISION
APPENDIX 1-A. NPS HEADQUARTERS ORGANIZATION CHART
APPENDIX 1-B. LAW ENFORCEMENT, SECURITY, AND EMERGENCY
SERVICES ORGANIZATION CHART

1.    BACKGROUND AND OBJECTIVES

      Reference Manual 9 (RM-9) applies to all employees involved in the
      National Park Service (NPS) law enforcement program, except the
      US Park Police (USPP), who are covered by General Orders.

      The Act of Congress (commonly known as the Organic Act)
      establishing the National Park Service directs the Service to “...
      promote and regulate the use of the National Park System by
      means and measures that conform to the fundamental purpose of
      the System units, which purpose is to conserve the scenery, natural
      DQGKLVWRULFREMHFWVDQGZLOGOLIHLQWKH6\VWHPXQLWVDQGWRSURYLGH
      IRUWKHHQMR\PHQWRIWKHVFHQHU\QDWXUDODQGKLVWRULFREMHFWVDQG
      wildlife in such manner and by such means as will leave them
      XQLPSDLUHG IRU WKH HQMR\PHQW RI IXWXUH JHQHUDWLRQVµ 54 U.S.C.
      100101.

      7R IXOÀOO LWV FRQJUHVVLRQDO PLVVLRQ DQG PDQGDWH WKH 136 ZLOO
      strive to administer areas under its care in such manner that they
      are free of criminal activity that threatens or compromises the
      ecological health and integrity of protected natural and cultural
      resources and/or disrupts an atmosphere conducive to public safety
      DQGHQMR\PHQW

                                                                          Exhibit A
RM-9 2015                  CONFIDENTIAL
                         Law Enforcement Program                           1
                                                        Beck_20cv1280: USA_001494
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                                     10




                              Use Of Force




1.    USE OF FORCE POLICY
2.    DEFINITIONS
3.    PRIMARY CONSIDERATION
4.    USE OF INTERMEDIATE DEFENSIVE EQUIPMENT
5.    REPORTING, SUPERVISORY REVIEW, AND INVESTIGATION
6.    EXCESSIVE FORCE


1.    USE OF FORCE POLICY

      Commissioned law enforcement personnel are authorized to use a
      wide variety of defensive equipment and force options in response




                                                                                     Law Enforcement Program – Ch. 1
      to various threats and other enforcement situations. These options
      DUHSURYLGHGLQRUGHUWRSHUPLWFRPPLVVLRQHGRIÀFHUVWRVHOHFWWKH




                                                                                          Use Of Force – Ch. 10
      defensive equipment or tactics that are most appropriate for the
      circumstances. The ability to transition from one type of force to
      another and stop the use of force is critical.

2.    DEFINITIONS

      7KH IROORZLQJ GHÀQLWLRQV DSSO\ WR WKLV DQG RWKHU FKDSWHUV RI WKLV
      manual.

2.1   Deadly Force

      'HDGO\IRUFHLVWKHXVHRIDQ\IRUFH ZLWKRUZLWKRXWÀUHDUPV WKDW
      LVOLNHO\WRFDXVHGHDWKRUVHULRXVSK\VLFDOLQMXU\'HDGO\IRUFHGRHV
      not include force that is not likely to cause death or serious physical
      LQMXU\EXWXQH[SHFWHGO\UHVXOWVLQVXFKGHDWKRULQMXU\




                                                                               Exhibit A
RM-9 2015                   CONFIDENTIAL
                              Use Of Force                                   159
                                                            Beck_20cv1280: USA_001583
                               Chapter 10: Use Of Force                                                                                                                         Chapter 10: Use Of Force


                               2.2      Discharge                                                                        2.7   Physical Control Techniques

                                        3XOOLQJ WKH WULJJHU RI D ÀUHDUP RU (&' LQWHQWLRQDOO\ RU                     Physical Control Techniques include methods such as come-a-longs,
                                        unintentionally, and expelling a round or probes.                                      touch pressure points, personal weapons (hands, feet, etc.), and the
                                                                                                                               application of restraints.
                               2.3      Display
                                                                                                                         2.8   Pointing
                                        The term “display” means the removal of a weapon from its holster,
                                        case, locking mount, or other normally stored location or position                     7KHGLUHFWLQJRIWKHEDUUHORIWKHÀUHDUPRU(&'LQVXFKDPDQQHU
                                        LQ DQWLFLSDWLRQ RI LWV XVH LQ D SRWHQWLDO FRQÁLFW :HDSRQV XVHG LQ         that a discharge would likely impact a targeted individual, animal,
                                        Patrol Carry are not considered a “display” unless the weapons is                      RUREMHFW
                                        discharged, pointed, or used.
                                                                                                                         2.9   Use of Force
                               2.4      Intermediate Weapons
                                                                                                                               For purposes of this chapter, the term “use of force” is intended
                                        Intermediate weapons are weapons that are approved by the NPS                          to address the physical application of force, as opposed to mere
                                        that are intended to be unlikely to kill or cause great bodily harm.                   RIÀFHU SUHVHQFH RU YHUEDO FRPPDQGV 7KH XVH RI IRUFH PD\ UDQJH
                                        7KLVLQFOXGHVÀUHDUPVZLWKOHVVOHWKDOPXQLWLRQV                                      from physical controls, through intermediate/less-lethal weapons,
                                                                                                                               to deadly force.
                               2.5      Objective Reasonableness
                                                                                                                               All incidents involving the intentionalGLVFKDUJHRIDÀUHDUPE\
                                        The facts and circumstances, including the reasonable inferences                       commissioned employees, either on duty or off duty, are considered
                                        drawn therefrom, known to a commissioned employee at the time of                       use of force, with the following exceptions:
                                        WKHXVHRIGHDGO\RURWKHUIRUFHWKDWZRXOGFDXVHDUHDVRQDEOHRIÀFHU
                                        WRFRQFOXGHWKDWWKHXVHRIIRUFHXVHGE\WKHFRPPLVVLRQHGRIÀFHU                     •     7UDLQLQJZKHUHQRLQMXU\RFFXUV
                                        was reasonable based on the totality of circumstances known to the
                                        commissioned employee at the point in time the force was used.                         •     Authorized destruction of animals or other resource management




   CONFIDENTIAL
                                        The reasonableness of a belief or decision must be viewed from the                           activities.
                                        SHUVSHFWLYHRIWKHFRPPLVVLRQHGRIÀFHURQWKHVFHQHZKRPD\RIWHQ
                                                                                                                               •     Legal recreational activities, such as hunting or sport shooting,
                                        be forced to make split-second decisions in circumstances that are
                                                                                                                                                                                                                                              Use Of Force – Ch. 10




                                                                                                                                     ZKHUHWKHUHLVQRKXPDQLQMXU\LQYROYHG
                                        tense, unpredictable, and rapidly evolving. As such, the Supreme
                                        &RXUW KDV VWDWHG WKDW REMHFWLYH UHDVRQDEOHQHVV ´LV QRW FDSDEOH RI            For reporting purposes, all incidents involving the unintentional
                                                                                                                                                                                                                                         Law Enforcement Program – Ch. 1




                                        SUHFLVHGHÀQLWLRQRUPHFKDQLFDODSSOLFDWLRQµ,QWKHFRQWH[WRIWKLV                  GLVFKDUJH RI D ÀUHDUP HLWKHU RQ GXW\ RU RII GXW\  DUH FRQVLGHUHG
                                        section, reasonableness will not be viewed from the calm vantage                       uses of force.
                                        point of hindsight.
                                                                                                                         3.    PRIMARY CONSIDERATION
                               2.6      Patrol Carry
                                                                                                                               The primary consideration in the use of force for commissioned
                                        Regular patrol details, including poaching patrols and border                          HPSOR\HHVLVWKHWLPHO\DQGHIIHFWLYHDSSOLFDWLRQRIDQREMHFWLYHO\
                                        patrols, that commonly require the carrying of long guns in addition                   reasonable level of force required to establish and maintain lawful
                                                                                                                                                                                                              Case 2:20-cv-01280-MV-SMV Document 109-1 Filed 10/27/22 Page 4 of 8




                                        to sidearms. These regular patrols will not require use of force                       control. Commissioned employees are authorized to use a wide
                                        reporting if the long guns are not discharged, pointed, or used.




Beck_20cv1280: USA_001584
                            Exhibit A
                               160                                 Use Of Force                           RM-9 2015      RM-9 2015                        Use Of Force                                 161
                               Chapter 10: Use Of Force                                                                                                                    Chapter 10: Use Of Force


                                        variety of defensive equipment and force options in response to            3.3   Fleeing Subject
                                        various threats and other enforcement situations. These options
                                        DUH SURYLGHG LQ RUGHU WR SHUPLW FRPPLVVLRQHG RIÀFHUV WR VHOHFW         Deadly force may not be used solely to prevent the escape of a
                                        WKHGHIHQVLYHHTXLSPHQWRUWDFWLFVVRORQJDVWKH\DUHREMHFWLYHO\             ÁHHLQJVXVSHFW'HDGO\IRUFHPD\EHXVHGWRSUHYHQWWKHHVFDSHRID
                                        reasonable based upon the totality of the circumstances.                         ÁHHLQJVXEMHFWLIWKHUHLVSUREDEOHFDXVHWREHOLHYH

                               3.1      Use of Force                                                                     •     7KH VXEMHFW KDV FRPPLWWHG D FULPH LQYROYLQJ WKH LQÁLFWLRQ RU
                                                                                                                               WKUHDWHQHGLQÁLFWLRQRIVHULRXVSK\VLFDOLQMXU\RUGHDWK
                                        Other than deadly force is any type or level of force that does not
                                        FUHDWHDVLJQLÀFDQWULVNRIGHDWK                                                     and

                                        -XVWLÀFDWLRQVIRUWKHXVHRIIRUFHPD\LQFOXGH                                  •     7KHHVFDSHRIWKHVXEMHFWZRXOGSRVHDQLPPHGLDWH GDQJHURI
                                                                                                                               GHDWKRUVHULRXVSK\VLFDOLQMXU\WRWKHFRPPLVVLRQHGHPSOR\HH
                                        •   To defend self.                                                                    or to another person.

                                        •   To defend others.                                                      3.4   Verbal Warnings

                                        •   To effect an arrest or investigatory Terry stop when lesser force            If feasible, and if to do so would not increase the danger to the
                                            LVRUZRXOGEHLQVXIÀFLHQW                                                  commissioned employee or others, a verbal warning to submit to
                                                                                                                         the authority of the employee should be given prior to the use of
                                        •   To restrain or control violent, threatening, or resistive behavior.          deadly force.
                                        •   To disperse an unlawful group.
                                                                                                                   3.5   Warning Shots
                                        •   To prevent prisoner escape.
                                                                                                                         Warning shots are not permitted.
                                        •   To stop a riot/civil unrest.
                                                                                                                   3.6   Vehicles
                                        •   To defend property.




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                                        •   To prevent destruction of evidence.                                          Firing at or from a moving vehicle is prohibited except in self-
                                                                                                                         defense or in defense of others.
                                                                                                                                                                                                                                        Use Of Force – Ch. 10




                                        •   2WKHUFLUFXPVWDQFHVZKHQREMHFWLYHO\UHDVRQDEOH
                                                                                                                         :HDSRQVPD\EHÀUHGDWWKHGULYHURURWKHURFFXSDQWRIDPRYLQJ
                               3.2      Use of Deadly Force
                                                                                                                                                                                                                                   Law Enforcement Program – Ch. 1




                                                                                                                         vehicle only when:

                                        Commissioned employees may use deadly force only when the                        •     The commissioned employee has a reasonable belief that the
                                        HPSOR\HHKDVDQREMHFWLYHO\UHDVRQDEOHEHOLHILQOLJKWRIWKHIDFWV                  VXEMHFWSRVHVDQLPPHGLDWHGDQJHURIGHDWKRUVHULRXVSK\VLFDO
                                        DQG FLUFXPVWDQFHV FRQIURQWLQJ WKH HPSOR\HH WKDW WKH VXEMHFW RI               LQMXU\WRWKHFRPPLVVLRQHGHPSOR\HHRUWRDQRWKHUSHUVRQ
                                        such force poses an immediate danger of death or serious physical
                                        LQMXU\WRWKHHPSOR\HHRUWRDQRWKHUSHUVRQ                                          and

                                                                                                                         •     7KHSXEOLFVDIHW\EHQHÀWVRIXVLQJVXFKIRUFHRXWZHLJKWKHULVNV
                                                                                                                                                                                                        Case 2:20-cv-01280-MV-SMV Document 109-1 Filed 10/27/22 Page 5 of 8




                                                                                                                               to the safety of the commissioned employee or other persons.




Beck_20cv1280: USA_001585
                            Exhibit A
                               162                                Use Of Force                       RM-9 2015     RM-9 2015                         Use Of Force                                163
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                                                                                     Electronic Control Device (ECD)
                                     32




                                                                                            Program – Ch. 32
                Electronic Control Device (ECD)
                            Program



1.    PURPOSE
2.    DEFINITIONS
3.    POLICY
4.    STANDARDS


1.    PURPOSE

      This chapter establishes NPS policy concerning use of Electronic
      Control Devices (ECDs) by commissioned employees.

      The SLEO with ECD programs will appoint a commissioned
      employee to oversee the ECD program. This commissioned employee
      will maintain records on ECDs and cartridges issued, to include
      serial numbers and commissioned employees that ECDs are issued
      WRGDPDJHG(&'VRUFDUWULGJHVDQQXDOWUDLQLQJDQGFHUWLÀFDWLRQ
      annual ECD inspections, and unintentional discharges.

2.    DEFINITIONS

      7KH IROORZLQJ GHÀQLWLRQV DSSO\ WR WKLV DQG RWKHU FKDSWHUV RI WKLV
      manual.

2.1   Deployment

      Any instance of a trigger pull on an ECD, regardless of intention,
      is considered a deployment. The daily spark test is not considered
      a deployment.

2.2   Electronic Control Device (ECD)

      A conducted energy device designed to transmit a disruptive
      electrical impulse to a target.


                                                                               Exhibit A
RM-9 2015                   CONFIDENTIAL
                   Electronic Control Device (ECD) Program                   379
                                                             Beck_20cv1280: USA_001715
                               Chapter 32: Electronic Control Device (ECD) Program                                                              Chapter 32: Electronic Control Device (ECD) Program


                               2.3      Inﬁrm                                                                            With the issuance of this policy, the use of the M-26 or XREP is not
                                                                                                                         authorized and their use must be discontinued.
                                        Not physically or mentally strong, especially through age or illness.
                                                                                                                 4.1.1   ECD Program Manager
                                                                                                                                                                                                                                           Program – Ch. 32




                               2.4      Probes/Darts
                                                                                                                         The ECD Program Manager will be the point of contact for all
                                                                                                                                                                                                                                    Electronic Control Device (ECD)




                                        %DUEHG SURMHFWLOHV ÀUHG IURP DQ (&' LQ RUGHU WR WUDQVPLW DQ           topics related to ECDs and will be selected by the DCOP. The ECD
                                        electrical impulse to a target.                                                  Program Manager must have a Type I commission, and must be an
                                                                                                                         ECD Instructor and Use of Force Instructor. This commissioned
                               2.5      Unintentional Discharge                                                          employee will have full responsibility to oversee the program.

                                        The unintentional deployment of an ECD cartridge.                                ECD Program Manager Responsibilities:

                               3.       POLICY                                                                           1. &ROOHFWGDWDIURPWKHÀHOGRQ(&'XVHVDQGJHQHUDWHDUHSRUWWR
                                                                                                                            the NPS-LETC Superintendent annually.
                                        ECDs are approved for use according to this policy, and will be used
                                        in compliance with the agency use of force policy.                               2. Answer questions about policy and the ECD program.

                                                                                                                         3. Update the NPS ECD website with the most up-to-date
                                        The ECD is an intermediate weapon that may be appropriate
                                                                                                                            information.
                                        for use in some situations. It is not a substitute for deadly force.
                                        Commissioned employees must assess the effectiveness of each                     4. Be the liaison with the manufacturer and/or distributors.
                                        application and determine whether further applications are
                                        warranted or if a different tactic should be employed.                           5. Review use of force ECD reports and make recommendations.

                               4.       STANDARDS                                                                4.2     ECD Use and Modes

                                        This section sets forth minimum standards for use of ECDs.               4.2.1   ECD Use Parameters




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                               4.1      General Conditions                                                               ECDs may be used on individuals who are actively resisting a
                                                                                                                         commissioned employee or to prevent individuals from harming
                                        Only commissioned employees will be authorized to carry ECDs for                 WKHPVHOYHVRURWKHUVZKHQVXFKIRUFHLVREMHFWLYHO\UHDVRQDEOH
                                        law enforcement purposes.
                                                                                                                         Unless compelling reasons to do so can be clearly articulated, ECDs
                                        Only ECDs issued or otherwise approved by the NPS will be used                   should not be used when the commissioned employee perceives that
                                        by commissioned employees in the performance of their duties. The                WKH XVH RI DQ (&' PD\ UHVXOW LQ GLUHFW RU VHFRQGDU\ LQMXULHV WR
                                        approved ECDs are the Taser International models X-26, X-26P,                    include when:
                                        and X-2.
                                                                                                                         •   DVXEMHFWPD\IDOOIURPDVLJQLÀFDQWKHLJKW
                                        The X-26, X-26P, and X-2 will be entered into the NPS Property                   •   DVXEMHFWLVRSHUDWLQJDPRYLQJYHKLFOHRUPDFKLQHU\
                                        Management Division property database and will be issued a bar
                                                                                                                                                                                                         Case 2:20-cv-01280-MV-SMV Document 109-1 Filed 10/27/22 Page 7 of 8




                                        code property number.                                                            •   DVXEMHFWLVLQRUQHDUDERG\RIZDWHUWKDWSUHVHQWVDULVNRI
                                                                                                                             drowning;
                                        As technology develops, future devices may be approved by the
                                        DCOP (see Chapter 43).




Beck_20cv1280: USA_001716
                            Exhibit A
                               380                  Electronic Control Device (ECD) Program        RM-9 2015     RM-9 2015             Electronic Control Device (ECD) Program                    381
                               Chapter 32: Electronic Control Device (ECD) Program                                                                   Chapter 32: Electronic Control Device (ECD) Program


                                        •   D VXEMHFW LV EHOLHYHG WR EH FRQWDPLQDWHG E\ RU RWKHUZLVH QHDU               ʊ   6XEMHFWV ZKR GLVSOD\ VLJQV RI GLVWUHVV K\SHUWKHUPLD ORVV
                                            ÁDPPDEOHRUH[SORVLYHPDWHULDOVRU                                                        RI FRQVFLRXVQHVV GLIÀFXOW\ EUHDWKLQJ FKHVW SDLQ RU RWKHU
                                                                                                                                       severe symptom.
                                        •   VXEMHFWLVEHOLHYHGWREHSDUWRIDKLJKULVNJURXS HJWKHYHU\
                                                                                                                                                                                                                                               Program – Ch. 32




                                            \RXQJWKHYHU\ROGWKHLQÀUPWKHYLVLEO\SUHJQDQWHWF                            ʊ   6XEMHFWVZKRUHFHLYHGWKUHHRUPRUH(&'XVHF\FOHV

                                        All ECD use will be consistent with agency-approved or recognized                    •     ECD probes embedded in non-sensitive areas may be removed
                                                                                                                                                                                                                                        Electronic Control Device (ECD)




                                        ECD training curricula, as determined by the Superintendent,                               by a commissioned employee according to procedures outlined
                                        NPS-LETC.                                                                                  in training. Universal precautions for infection control will be
                                                                                                                                   followed, and the probes will be treated as biohazard sharps.
                               4.2.2    Spark Display
                                                                                                                             •     When practical and appropriate, photographs of ECD probe
                                        A spark display is the demonstration of the visible electrical current                     impact sites should be taken before and after probe removal.
                                        (without an actual application of the current to a suspect) and may
                                                                                                                             •     Expended cartridges and probes will be placed into evidence.
                                        be used with verbal commands to attempt to gain control.
                                                                                                                                   (Note: cartridges from training or negligent discharges do not
                                                                                                                                   need to be entered into evidence.)
                               4.2.3    Drive Stun
                                                                                                                             •     After their removal, inspect all probes to ensure they are not
                                        The device may be used in a “drive stun” mode. Use of the “drive                           broken and place them in a sharps container for disposal.
                                        VWXQµPRGHLVVXEMHFWWRWKHVDPHUHVWULFWLRQVDVWKDWRIWKH(&'LQ
                                        cartridge deployments. This maneuver has a limited, localized pain                   •     A use history report will be downloaded from the deployed
                                        effect and does not cause incapacitation.                                                  ECD(s) as soon as practical.

                               4.3      ECD Post-Deployment Procedures                                                       •     When a commissioned employee deploys an ECD outside of NPS
                                                                                                                                   MXULVGLFWLRQWKHRIÀFHUPD\IROORZWKHSRVWGHSOR\PHQWSROLF\RI
                                        As applicable, the following procedures will be implemented                                the primary agency.
                                        subsequent to an ECD deployment:                                               4.4   ECD Certiﬁcation and Training




   CONFIDENTIAL
                                        •   If a commissioned employee reasonably believes that the                          Prior to carrying or utilizing an ECD, commissioned employees will
                                            recipient of an ECD application is in need of medical treatment,                 VXFFHVVIXOO\ FRPSOHWH WKH 136 (&' FHUWLÀFDWLRQ FRXUVH DSSURYHG
                                            the employee will make reasonable efforts to obtain such                         by the Superintendent, NPS-LETC, as documented on the NPS-
                                            treatment.                                                                       LETC website for any approved model of ECD (X-26, X-26P, X-2).
                                        •   $FFRPSDQLHG E\ D FRPPLVVLRQHG HPSOR\HH VXEMHFWV ZLOO EH                 Current users transitioning from an X-26 to X-26P require weapon
                                            entered into the emergency medical services (EMS) system for                     IDPLOLDUL]DWLRQDQGPXVWGHPRQVWUDWHZHDSRQKDQGOLQJSURÀFLHQF\
                                            medical care when they exhibit the following conditions:                         through the deployment of two ECD cartridges to an NPS-LETC
                                                                                                                             approved ECD Instructor.
                                            ʊ   (&' SUREH HPEHGGHG LQ IDFH QHFN MRLQWV JURLQ ERQH RU
                                                IHPDOHEUHDVWRUWKRVHWKDWDUHGLIÀFXOWWRUHPRYHRUZKHUH                ,QVWUXFWRUV PXVW EH FHUWLÀHG WR WHDFK WKH LQGLYLGXDO PRGHOV DQG
                                                the barb has detached.                                                       pass an oral board examination with the NPS-LETC ECD Program
                                                                                                                             Manager.
                                                                                                                                                                                                             Case 2:20-cv-01280-MV-SMV Document 109-1 Filed 10/27/22 Page 8 of 8




                                            ʊ   +LJKULVNVXEMHFWVVXFKDVWKHYHU\\RXQJWKHYHU\ROGWKH
                                                LQÀUPYLVLEO\SUHJQDQWHWF




Beck_20cv1280: USA_001717
                            Exhibit A
                               382                   Electronic Control Device (ECD) Program            RM-9 2015      RM-9 2015            Electronic Control Device (ECD) Program                   383
